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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 STEVEN VANCE and TIM JANECYK, for )
 themselves and others similarly situated, ) Case No. 20 C 577
                                           )
        Plaintiffs,                        )
                                           ) Judge Charles P. Kocoras
 v.                                        )
                                           )
 INTERNATIONAL BUSINESS MACHINES )
 CORPORATION,                              )
                                           )
        Defendant.                         )

             PLAINTIFFS’ MOTION FOR APPOINTMENT OF INTERIM
           CO-LEAD CLASS COUNSEL PURSUANT TO FED. R. CIV. P. 23(g)

       Pursuant to Rule 23(g) of the Federal Rules of Civil Procedure, Plaintiffs move for an order

appointing Carlson Lynch LLP (“Carlson Lynch”) and Loevy & Loevy (“Loevy”) as Interim Co-

Lead Class Counsel (“Proposed Class Counsel”) in this consumer privacy class action lawsuit.

Plaintiffs have conferred with counsel for International Business Machines Corp., Inc. (“IBM”),

which takes no position on the motion.

I.     INTRODUCTION

       Plaintiffs move this Court to exercise its authority under Federal Rule of Civil Procedure

23(g) to make the above-referenced appointments. As shown below, Proposed Class Counsel’s

experience prosecuting and successfully resolving complex class actions, including other

Biometrice Information Privacy Act (“BIPA”) cases, their demonstrated knowledge of applicable

BIPA related privacy jurisprudence, and their proven willingness and ability to devote resources

necessary to ensure the vigorous and efficient prosecution of this litigation demonstrate that they

are well-qualified to serve as Plaintiffs’ Interim Co-Lead Class Counsel. For these reasons, and

those that follow, the appointment of Proposed Class Counsel is appropriate to protect the interests
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of the putative class members and to promote the fair and efficient resolution of this significant

controversy.

II.       FACTUAL AND PROCEDURAL BACKGROUND

          In January 2019, IBM released to the public its dataset containing the faces and biometric

information and identifiers of at least a million individuals. ¶ 43. 1 Unbeknownst to Plaintiffs

and class members and without their consent, IBM found these photographs online, downloaded

them, and performed facial analysis on them, capturing Plaintiffs’ and class members’ unique

facial geometry to create faceprints that are unique to each individaul. ¶¶ 43-46. Plaintiffs allege

that, by doing so, IBM unlawfully captured and collected their protected biometric identifiers and

information (collectively “biometrics”) in violation of Sections 15(a) and (b) of Illinois’

Biometric Information and Privacy Act (“BIPA”), 740 ILCS §14/1, et seq. Plaintiffs and class

members further allege that IBM violated Sections 15(c)-(e) of BIPA by profiting from its use of

their biometrics, by disseminating them to the public, and by otherwise failing to safeguard the

biometrics.

          On January 22 and 24, 2020, the law firms of Carlson Lynch and Loevy & Loevy

respectively filed class action complaints alleging the unlawful conduct described above –

namely, Janecyk v. Int’l Bus. Machines Corp., No. 20-CH-833 (Cir. Ct. Cook Cty.) and Vance v.

Int’l Bus. Machines Corp., No. 1:20-cv-577 (N.D. Ill.). On February 3, 2020, IBM removed

Janecyk to the Northern District of Illinois, case number 1:20-cv-00783, where it eventually was

reassigned to this Court and consolidated with Vance. Dkt. 16. Since consolidation, the parties

have filed the SAC and fully briefed IBM’s motion to dismiss.




1
    “¶” refers to paragraphs in the Second Amended Class Action Complaint (“SAC”), Dkt. 19.

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         After meetings and deliberations, Plaintiff Janecyk’s and Plaintiff Vance’s counsel self-

organized, agreeing that it would be in the best interests of the class to form a unified front and

cooperatively litigate the claims arising from IBM’s collection and use of Plaintiffs’ and class

members’ biometrics. In accordance therewith, Plaintiffs’ counsel submit this application for

appointment as interim co-lead counsel.

III.     ARGUMENT

         A.     Appointing Interim Co-Lead Class Counsel is Appropriate at this Juncture.

         Rule 23(g) authorizes the Court to designate interim lead counsel to act on behalf of the

putative class before a class certification decision is made. See Fed. R. Civ. P. 23(g)(3). The rule

contemplates early appointment of counsel to act on behalf of the proposed class, without regard

to whether there are competing applications. See, e.g., Tolmasoff v. General Motors, LLC, No.

16-cv-11747, 2016 WL 3548219, at *9 (E.D. Mich. June 30, 2016) (appointing interim class

counsel where competing cases “may follow” and “the Court believe[d] that it would be beneficial

to formally identify the counsel responsible, at this pre-certification stage, for protecting the

interests of the putative class members”); Roe v. Arch Coal, Inc., No. 4:15-CV-1026 (SNLJ),

2015 WL 6702288, at *3 (E.D. Mo. Nov. 2, 2015) (appointing interim class counsel despite the

absence of competing applications for appointment because the pending case “would benefit from

designated interim class counsel for efficient case management.”).

         By designating interim counsel now, this Court will “clarif[y] responsibility for protecting

the interests of the class during precertification activities, such as making and responding to

motions, conducting any necessary discovery, moving for class certification, and negotiating

settlement.” MANUAL       FOR   COMPLEX LITIGATION (“MCL”) § 21.11 (4th ed. 2004). This is

particularly appropriate in a case like this one, where IBM’s underlying conduct has received



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widespread publicity and renewed interest based on IBM’s contention that it no longer intends to

develop or use facial recognition software, and where the press and counsel have contacted

Plaintiffs’ counsel to inquire about the litigation. 2 The appointment of Proposed Class Counsel

will also facilitate a greater degree of coordination and efficiency, which will accrue to the benefit

of the putative class.

          B.      Proposed Class Counsel Are Well-Qualified to Represent Plaintiffs and the
                  Proposed Class.

          Before a court may appoint interim class counsel, it must evaluate whether the proposed

counsel will fairly and adequately represent the interests of the class. Smith v. State Farm Mut.

Auto. Ins. Co., 301 F.R.D. 284, 288 (N.D. Ill. 2014) (citing Fed. R. Civ. P. 23(g)(2), (4)). In doing

so, it must evaluate the following factors:

          (i)     the work counsel has done in identifying or investigating potential claims
                  in the action;

          (ii)    counsel’s experience in handling class actions, other complex litigation, and
                  claims of the type asserted in the action;

          (iii)   counsel’s knowledge of the applicable law; and

          (iv)    the resources counsel will commit to representing the class . . . .

    Fed. R. Civ. P. 23(g)(1)(A)(i)-(iv); Smith 301 F.R.D. at 288. Each of these factors supports the

    appointment of Proposed Class Counsel.




2
  IBM’s recent public proclamation to Congress that it intends to stop selling and developing facial
recognition software received widespread press coverage and has sparked renewed interest in this
litigation. See, e.g., Matt O’Brien, IBM Quits Facial Recognition, Citing Surveillance Fears, and
Joins      Call     for     Police    Reforms,    Chicago       Tribune      (June     9,    2020),
https://www.chicagotribune.com/business/ct-biz-facial-recognition-ai-ibm-20200609-
moxite53cfh6hfozv2sv5jlv7i-story.html (last accessed June 22, 2020) (reporting on IBM’s
decision to quit facial recognition).

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               1.      Proposed Class Counsel Performed Substantial Work in Investigating
                       this Action.

       Proposed Class Counsel have committed appropriate, yet substantial, time and resources

working with each other toward the advancement of the litigation, investigating and researching

the potential legal theories and claims at issue, and researching and reviewing information relating

to the factual underpinnings of this litigation. These actions further demonstrate their willingness

and ability to cooperatively prosecute this action on behalf of the putative class to the fullest

extent possible. Counsel are familiar with the facts and legal issues in this matter and intend to

continue their efficient pursuit of the claims on behalf of Plaintiffs and the class.

       As noted above, prior and subsequent to filing their respective complaints in Janecyk and

Vance, Proposed Interim Co-Lead Class Counsel independently, and later collectively, undertook

an in-depth investigation into the facts, circumstances, and legal reprecutions surrounding IBM’s

practice of surreptitiously collecting, obtaining, using, and disseminating Plaintiffs’ and class

members’ protected biometrics.        This investigation included technical research into the

innerworkings of facial recognition; the origins of IBM’s Diversity in Faces Dataset – the dataset

at issue here; reviewing and analyzing research papers and public statements regarding the

Diversity in Faces Dataset and IBM’s use of facial recognition, generally; reviewing and

analyzing information associated with the photographs from which IBM harvested Plaintiffs’ and

class members’ biometrics; and learning class members’ experiences concerning the collection

and dissemination of their biometrics. Moreover, each firm has devoted extensive time to

researching the relevant law to prepare their initial complaints and the SAC and briefing IBM’s

motion to dismiss. In short, Proposed Class Counsel have conducted all of the work necessary to

prosecute this litigation, and stand ready, willing, and able to continue to devote substantial effort

and resources necessary for advancing Plaintiffs’ and the proposed class’ claims.


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               2.      Proposed Class Counsel Are Highly Experienced in Leading and
                       Successfully Resolving Complex Consumer Class Actions Involving
                       Claims Similar to Those at Issue in this Litigation.

       Each of the proposed interim counsel and their respective firms have a track record of

successfully litigating and resolving consumer class actions and other complex litigation,

including consumer privacy class action litigation and BIPA class action litigaiton. See In re

Terazosin Hydrochloride Antitrust Litig., 220 F.R.D. 672, 702 (S.D. Fla. 2004) (stating that the

“most persuasive” factors in choosing lead counsel may be proposed counsel’s “experience in,

and knowledge of, the applicable law in this field”). The qualifications and experience of these

firms are detailed below and in the accompanying declarations and firm resumes. 3 See Ex. A

(Carlson Lynch Firm Resume), Ex. B (Loevy & Loevy Firm Resume).

                                       Carlson Lynch LLP

       Carlson Lynch is a nationally recognized class action law firm with offices located in

Pittsburgh, San Diego, Los Angeles, and Chicago, specializing in an array of complex class

actions, including financial fraud, data breach, privacy, consumer fraud, labor and employment,

antitrust, civil rights, and wage and hour laws. Carlson Lynch has a wealth of experience in some

of the largest privacy class actions pending around the country, including those arising from

violations of BIPA. Since 2004, the attorneys of Carlson Lynch have generated seminal legal

authority in trial and appellate courts, litigated every type of class action across the county, and

recovered substantial monetary awards and injunctive relief on behalf of class members.

       Gary Lynch is one of the founding partners of Carlson Lynch, a nationally recognized class

action law firm, and leads the firm’s privacy practice group. Gary Lynch and Carlson Lynch have

led some of the largest privacy class actions in the country: In re Equifax, Inc. Customer Data Sec.


3
 If the Court prefers to appoint individuals as interim co-lead class counsel, Plaintiffs respectfully
seek to have Scott R. Drury and Gary Lynch appointed.

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Breach Litig., MDL 2800 (N.D. Ga.) (Financial Institution Track), in which preliminary approval

was granted on June 5, 2020 for a class action settlement providing up to $5.5 million in direct

payments to class members; In re Home Depot Customer Data Sec. Breach Litig., MDL 2583

(N.D. Ga.) (Financial Institution Track), in which the court entered final approval of a class

settlement in 2017, providing for approximately $27.25 million in overall monetary class benefits,

excluding attorneys’ fees; and First Choice Federal Credit Union v. The Wendy’s Company et al,

2:16-cv-0506, (W.D. Pa.), where a settlement creating a $50 million common fund received final

approval in 2019. All three of these cases resulted in class settlements which have or will return

substantial funds to national plaintiff classes. In In re Target Corp. Customer Data Sec. Breach

Litig., MDL 2522 (D. Minn.), Carlson Lynch was appointed to the Plaintiffs’ Executive Committee

managing the litigation on behalf of all Plaintiffs (consumers, financial institution, and

shareholders). A settlement agreement providing $10 million to affected individual consumers was

granted final approval in November 2015. A separate settlement providing approximately $39

million in relief to financial institutions was approved in May 2016. In addition, Carlson Lynch

has been appointed to many leadership committee positions in privacy class actions, the majority

of which cases have also ended in favorable settlements, while others are ongoing. See Ex. A

(Carlson Lynch Firm Resume).

       Katrina Carroll is the managing partner of Carlson Lynch’s Chicago office, has recovered

well over $1 billon on behalf of class members, and has experience in numerous BIPA cases,

including Monroy v. Shutterfly, Inc., 1:16-cv-10984, (N.D. Ill.) and Rivera v. Google, 1:16-cv-

02714 (N.D. Ill.), two of the earliest BIPA cases that have shaped BIPA jurisprudence. See also

Cotton v. Ring LLC, 1:20-cv-02479 (N.D. Ill.); E.R. v. Tiktok, Inc., 1:20-cv-02810 (N.D. Ill.);

Marron v. Clearview, 1:20-cv-02989 (N.D. Ill.); Viverette v. Infusion Management Group, Inc.,



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2019-CH-05660 (Cir. Ct. Cook Cnty.); Miracle-Pond, et al. v. Shutterfly, Inc., 2019-CH-07050

(1st Dist. Cook Cnty., Ill.); Holm v. Presence Health Network, 2017-L-012793, (1st Dist. Cook

Cnty., Ill.). In In Re: Rust-Oleum Restore Marketing, Sales Practices and Products Liability

Litigation, 1:15-cv-1364 (N.D. Ill.), a complex MDL where Ms. Carroll recently served as Co-

Lead Counsel, the Honorable Amy J. St. Eve, now a sitting Justice of the Seventh Circuit Court of

Appeals, praised Ms. Carroll’s professionalism with defense counsel (Lori Lightfoot, who was

then a partner at Mayer Brown) as a “model I wish all lawyers would follow.”

                                          Loevy & Loevy

       Over the course of more than twenty years, Loevy & Loevy has been fighting on behalf

of its clients in vital and complex arenas such as civil rights, consumer and privacy cases, and

whistleblower protection. The firm has won dozens of jury trials and secured hundreds of millions

of dollars for its clients, including nearly $200 million in class actions settlements and verdicts

alone. Loevy & Loevy’s class action experience is unique in that it has tried actions to verdict, a

fact that has informed and improved its pretrial handling of the class actions it litigates. In Aranda

v. Caribbean Cruise Line, Inc, No. 1:12-cv-4096 (N.D. Ill.), on the eve of trial, Loevy & Loevy

attorneys secured the largest TCPA settlement in history ($56-76 million). The firm’s work has

received high judicial praise. See Flood v. Dominguez, No. 08-cv-153 (N.D. Ind. Dec. 14, 2012)

(“class counsel [from Loevy] . . . are highly experienced, highly respected and have done an

outstanding job in the face of a very strong opposition.”); Aranda v. Caribbean Cruise Line, Inc.,

2017 WL 1369741, at *9 (N.D. Ill. Apr. 10, 2017) (noting the firm’s expertise in conducting class

action trials and stating “that counsel provided exceptional representation for the class and

prodcued high-value output”) (internal quotation omitted).




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       Michael Kanovitz, a firm partner, concentrates his practice on class actions, constitutional

law, privacy law, and whistleblower protection under the federal and state False Claims Acts. His

cases have resulted in verdicts and settlements of over $150 million to his clients. Mr. Kanovitz

has served as lead counsel in some of the largest civil rights class action suits in the nation. In

Dunn v. City of Chicago, No. 04-cv-6804 (N.D. Ill.), Mr. Kanovitz secured a settlement, for three

classes of persons whose rights were violated by the Chicago Police Department, resulting in

$16.5 million in compensation and producing substantial changes in the Chicago Police

Department’s treatment of arrestees. In Young v. County of Cook, No. 06-cv-552 (N.D. Ill.), Mr.

Kanovitz proved at a jury trial that the Cook County Jail routinely abused citizens by using

violence and intimidation when strip searching them. The case resulted in policy reforms and

recovery of over $100 million. In Flood v. Dominguez, No. 08-cv-153 (N.D. Ind.), Mr. Kanovitz

obtained a settlement of over $7 million for a class of men and women who were held in inhumane

conditions at the Lake County Jail in Northern Indiana. A federal judge familiar with Mr.

Kanovitz’s class action trial work described his “written, oral, and trial advocacy skills” as “top-

notch.” See Jimenez v. City of Chicago, 2012 WL 5512266, at *2-3 (N.D. Ill. Nov. 14, 2012).

Another federal judge has stated that Mr. Kanovitz is “considered to be in the top tier of civil

rights trial attorneys in the Chicago area.” Awalt v. Marketti, 2018 WL 2332072, at *3 (N.D. Ill.

May 23, 2018).

       Scott R. Drury leads Loevy & Loevy’s Data Privacy and Cyber-Intelligence Group which,

through class action litigation, pursues justice for victims of the ever-increasing unlawful

invasions of privacy that threaten American citizens. See, e.g., Mutnick v. Clearview AI, Inc., No.

1:20-cv-00512 (N.D. Ill.); Flores v. Motorola Solutions, Inc., No. 1:20-cv-001128 (N.D. Ill.);

Mark S. v. College Board, No. 1:19-cv-08068; Kylie S. v. Pearson plc, No. 1:19-cv-05936 (N.D.



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Ill.).   Mr. Drury is a former Assistant United States Attorney and former Illinois State

Representative, as well as an accomplished trial lawyer. As an Assistant United States Attorney,

Mr. Drury led multi-year investigations and prosecutions of complex frauds and public corruption

matters. He has first-chaired numerous federal jury trials to favorable verdicts and successfully

argued before the Seventh and Eighth Circuit Courts of Appeals, most recently in Koh v. Ustich,

933 F.3d 836 (7th Cir. 2019). After Mr. Drury successfully prosecuted a public corruption matter,

the jury foreperson wrote to the U.S. Attorney’s Office to state: “[t]he general consensus [of the

jury] was that Scott was an outstanding example of how we want our Government represented.”

As a State Representative, Mr. Drury was a member of the Cybersecurity, Data Analytics and IT

Committee and drafted, negotiated and passed important privacy legislation, including a critical

revision to the Children’s Privacy Protection and Parental Empowerment Act, 325 ILCS 17/1, et

seq., in order to prevent the unauthorized sale of children’s data and toughest-in-the-nation

legislation prohibiting the non-consensual dissemination of private sexual images (commonly

referred to as “revenge porn”), 720 ILCS 5/11-23.5. Mr. Drury is an adjunct professor of law at

the Northwestern Pritzker School of Law, where he teaches trial advocacy, as well as a member

of the Northern District of Illinois’ trial bar.

         3.     Proposed Class Counsel Are Committed to Representing and Advancing the
                Interests of the Class.
         Proposed Class Counsel are willing and able to expend the resources necessary to ensure

the vigorous prosecution of Plaintiffs’ and class members’ claims. Their resumes demonstrate

their records of success leading and self-financing complex consumer class action cases against

some of the largest and wealthiest corporations in the world. The experience here will be no

different.




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       Proposed Class Counsel are committed to working cooperatively and efficiently on behalf

of Plaintiffs and the proposed class here. Tellingly, of their own accord, these firms cooperatively

self-organized without the need for Court intervention or other judicial resources, which has

allowed this case to progress at a swift pace. Section § 10.22 of the MCL states that “[i]n some

cases the attorneys coordinate their activities without the court’s assistance, and such efforts should

be encouraged.” See also MCL § 21.272 (discussing the use of the private ordering method –

where the lawyers agree who should be lead counsel – and describing it as “by far the most

common” approach for making this selection). This approach has been endorsed by several courts

as the “preferred” one. See, e.g., In re Cmty. Bank of N. Va. Mortg. Lending Practices Litig., No.

1674, 2011 WL 4382942, at *2 (W.D. Pa. Sep. 20, 2011) (stating that “the private ordering method

of selecting interim lead counsel has long been the preferred approach” and holding that “[t]he

court sees no reason to deviate from this well-established approach.”).

       Proposed Class Counsel have also worked cooperatively with defense counsel in this

matter. They have cooperated with IBM with respect to: (a) its requests for additional time to file

its answer; (b) consolidation of Janecyk and Vance; (c) a briefing schedule for IBM’s motion to

dismiss; and (d) its request for additional pages in connection with its motion to dismiss. Counsel

looks forward to continuing this cooperation in order to streamline discovery.

       In sum, Proposed Class Counsel are committed to pursuing the best interests of Plaintiffs

and the proposed class in an efficient manner. They understand the time and resources necessary

to pursue this action to a successful resolution. Their firms have already made significant

investments of resources and time into the prosecution of the claims against IBM. Their firms

possess the resources and workforces required to continue vigorously prosecuting this litigation

and, if appointed, they will do so here.



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IV.    CONCLUSION

       In view of the foregoing, Plaintiffs respectfully ask the Court to grant their motion for

appointment of Interim Proposed Co-Lead Class Counsel under Fed. R. Civ. P. 23(g). A proposed

order granting this relief is submitted herewith.



Dated: July 1, 2020                                      Respectfully submitted,


        /s/ Scott R. Drury                                /s/ Gary F. Lynch
        SCOTT R. DRURY                                    GARY LYNCH

        Arthur Loevy                                      Gary Lynch
        Michael Kanovitz                                  Katrina Carroll
        Jon Loevy                                         Kyle A. Shamberg
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